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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )        8:05CR94
                                         )
                    vs.                  )        ORDER FOR DISMISSAL
                                         )
VICENTE PADILLA-NAVARRO,                 )
a/k/a “Chente”,                          )
LUIS ALBERTO RAMOS-MARTINEZ,             )
a/k/a “Balazos, a/k/a “Balas”, and       )
ESTRELLA ALBA-CRUZ,                      )
                                         )
                    Defendants.          )

      This matter is before the Court on the United States’ Motion for Dismissal (Filing No.

153). The Court, being duly advised in the premises, finds said Motion should be

sustained.

      IT IS HEREBY ORDERED:

      1.     The United States’ Motion for Dismissal (Filing No. 153) is granted;

      2.     Leave of Court is granted for the United States to dismiss, without prejudice,

             the Superseding Indictment filed herein, as it relates to the Defendants,

             Vicente Padilla-Navarro, a/k/a “Chente”, Luis Alberto Ramos-Martinez, a/k/a

             “Balazos, a/k/a “Balas”, and Estrella Alba-Cruz, only; and

      3.     The Superseding Indictment filed herein is hereby dismissed, without

             prejudice, as it pertains to the Defendants, Vicente Padilla-Navarro, a/k/a

             “Chente”, Luis Alberto Ramos-Martinez, a/k/a “Balazos, a/k/a “Balas”, and

             Estrella Alba-Cruz, only.

      DATED this 1st day of February, 2006.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge
